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                                                                    U.S. DISTRICT COURT
                                                                           AUGUSTA DiV.

                    UNITED STATES DISTRICT COURT                   £0 MAR "2 PH 3^ 06
                    SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION
                                                                  CLERK. ,
                                                                       SO. I
UNITED STATES OF AMERICA                   INFORMATION NO.

                                           18 U.S.C. § 2251(a)
             V.
                                           Production of Child Pornography
JASON MICHAEL MUSGROVE



THE UNITED STATES ATTORNEY CHARGES m/ft:
                                           CRiZO ""012
                                 COUNT ONE
                        Production of Child Pornography
                               18 U.S.C. § 2251(a)


      In or about December 2018, in Columbia County, within the Southern

District of Georgia, the defendant,

                       JASON MICHAEL MUSGROVE

did knowingly employ and use minor MVl, a minor whose identity is known to

the Grand Jury, to engage in sexually explicit conduct for the purpose of

producing a visual depiction of such conduct and the visual depiction was

produced using materials that were mailed, shipped, or transported in interstate

or foreign commerce by any means, including by computer; to wit: an image or

video with file name ******** Toilet.mp4 depicting MVl engaging in sexually

explicit conduct.

      All in violation of Title 18, United States Code, Section 2251(a).
     Case 1:20-cr-00012-JRH-BKE Document 1 Filed 03/02/20 Page 2 of 2




                         forfeitut^t^ at.t,egation

      The allegations contained in Count One of this Information are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Section 2253.
      Upon conviction of Count One of this Information charging a violation of Title
18, United States Code, Section 2251(a) the defendant, JASON MICHAEL
MUSGROVE, shall forfeit to the United States of America, pursuant to Title 18,
United States Code, Sections 2258(a)(1) and (a)(3), any visual depiction described in
Title 18, United States Code, sections 2251, 2251A, or 2252, or any matter which
contains any such visual depiction, which was produced,transported, mailed, shipped
or received in violation of Title 18, United States Code, Chapter 110 and any property,
real or personal, used or intended to be used to commit or to promote the commission
of such offense or any property traceable thereto.

Signatures for Attorneys for the Government


  Bobby tiXlhristine                    Karl 1. Knoche
  United States Attorney                Assistant United States Attorney
                                        Chief, Criminal Division



                                          ira M.Lyons
                                        Assistant United States AtWfney
                                        *Lead Counsel
